       Case 1:17-cr-00035-DHB-BKE Document 81 Filed 01/30/18 Page 1 of 1

                                                                     FILED
                                                              U.S. DISTRICT COURT
                                                                  AUGUSTA OIV.
                 IN THE UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION
                                                             CLERK


UNITED STATES OF AMERICA


            V.                         CASE NO.: l:17-cr-00035-DHB-BKE-2


AUDRA ROPER



                                    ORDER


      Upon consideration of the Motion for Leave of Absence filed by counsel for

Audra Roper in the above-referenced case for February 19, 2018 through and

including February 23, 2018 and April 2, 2018 through and including April 6, 2018,

the same is he;:eby GRANTED.

      It is sc ORDERED this               January, 2
                                                   2018.




                        THE HONOR/C^E DUDLEY H.BO^^K JR.
                        SENIOR UNITED STATES DISTRICT JUDGE
